               Case 3:21-cr-00121-JD Document 1-2 Filed 03/23/21 Page 1 of 1
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                          UNITED STATES DISTRICT COURT                                      FILED
                          NORTHERN DISTRICT OF CALIFORNIA
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Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.
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